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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                              NORTHWESTERN DIVISION

United States of America,                     )
                                              )
               Plaintiff,                     )       ORDER (AMENDED)
                                              )
       vs.                                    )
                                              )
Kealoha Asaga Aulaumea,                       )       Case Nos. 4:13-cr-066-7 and 4:13-cr-082-2
                                              )
               Defendant.                     )


       On May 18, 2015, defendant filed a “Motion for Release from Custody.” She advised that

she has been accepted into a residential treatment program at the New Hope Recovery Center in

Minot, North Dakota. She requested to be released so that she can report to the program.

       There being no objection from the Government, the court GRANTS defendant’s motion.

(Case No. 4:13-cr-066, Docket No. 881; Case No. 4:13-cr-082, Docket No. 152). The United States

Marshal shall transport defendant to the New Hope Recovery Center in Minot, North Dakota, on

May 27, 2015. Upon arriving at the New Hope Recover Center, defendant shall be released subject

to the following conditions:

       (1)     Defendant shall reside at the New Hope Recover Center’s treatment facility,

               participate in its treatment program, and abide by the its rules and regulations.

       (2)     Upon arriving at the New Hope Recovery Center, defendant shall immediately

               contact United States Probation Officer Fallon Clouse at (701) 297-7241 to advise

               of her admission. Defendant shall thereafter report to the Probation Office as

               directed and sign releases as necessary so that the Probation Office can monitor her

               progress in the treatment program.

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(3)    Defendant shall comply with all other conditions of release previously imposed by

       the court.

(4)    Upon successful completion of the residential portion of the treatment program,

       defendant shall immediately report to the Probation Office before any change of

       address is made so that it may evaluate the appropriateness of her proposed living

       arrangements.

IT IS SO ORDERED.

Dated this 26th day of May, 2015.

                                            /s/ Charles S. Miller, Jr.
                                            Charles S. Miller, Jr., Magistrate Judge
                                            United States District Court




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